                                                                   Case 9:16-bk-11912-DS            Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                          Desc
                                                                                                     Main Document    Page 1 of 10


                                                                   1   Laura Davis Jones (DE Bar No. 2436) (Admitted Pro Hac Vice)
                                                                       Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                   2   Victoria A. Newmark (CA Bar No. 183581)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
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                                                                   6              vnewmark@pszjlaw.com

                                                                   7   Attorneys for Channel Technologies Group, LLC,
                                                                       Debtor and Debtor in Possession
                                                                   8
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                  NORTHERN DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                      Case No.: 9:16-bk-11912-PC
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                               Chapter 11
                                           ATTORNEYS AT LAW




                                                                       CHANNEL TECHNOLOGIES GROUP, LLC,1
                                                                  14                                                               SUBMISSION OF AMENDMENT TO
                                                                                                            Debtor.                SCHEDULE E
                                                                  15
                                                                                                                                   [No Hearing Required]
                                                                  16

                                                                  17            Channel Technologies Group, LLC, debtor and debtor in possession herein, hereby submits

                                                                  18   this Amendment to Schedule E.

                                                                  19
                                                                       Dated:     November 21, 2016                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                  20

                                                                  21
                                                                                                                       By:     /s/ Jeffrey W. Dulberg
                                                                  22                                                           Jeffrey W. Dulberg
                                                                  23                                                           Attorneys for Channel Technologies Group, LLC,
                                                                                                                               Debtor and Debtor in Possession
                                                                  24

                                                                  25

                                                                  26

                                                                  27
                                                                       1
                                                                  28    The last four digits of the Debtor’s Tax Identification Number are: 0460. The Debtor’s mailing address is: 879 Ward
                                                                       Drive, Santa Barbara, CA 93111.


                                                                       DOCS_LA:302490.1 13817/002
          Case 9:16-bk-11912-DS                                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                                                      Desc
                                                                         Main Document    Page 2 of 10
Fill in this information to identify the case:

Debtor name           Channel Technologies Group, LLC

United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)              9:16-bk-11912-PC
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $       15,421,804.14

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $       15,421,804.14


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,860,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           282,636.47

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,491,291.13


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,633,927.60




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
           Case 9:16-bk-11912-DS                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                               Desc
                                                          Main Document    Page 3 of 10
Fill in this information to identify the case:

Debtor name        Channel Technologies Group, LLC

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)           9:16-bk-11912-PC
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $3,301.50         $3,301.50
          Amedeo Mazzilli                                     Check all that apply.
          Address on File                                        Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Employee wages and PTO
          Last 4 digits of account number
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (4)



2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $5,120.52         $5,120.52
          Arsen Melconian                                     Check all that apply.
          Address on File                                        Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Employee wages and PTO
          Last 4 digits of account number
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
          Case 9:16-bk-11912-DS                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                      Desc
                                                         Main Document    Page 4 of 10
Debtor      Channel Technologies Group, LLC                                                          Case number (if known)   9:16-bk-11912-PC
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,472.32      $3,472.32
         Arthur Krokus                                      Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,195.00      $3,195.00
         Arturo Ortega                                      Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $2,929.50      $2,929.50
         Barry J Robinson                                   Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,146.50      $3,146.50
         Bradley J. Altavilla                               Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 7
          Case 9:16-bk-11912-DS                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                      Desc
                                                         Main Document    Page 5 of 10
Debtor      Channel Technologies Group, LLC                                                          Case number (if known)   9:16-bk-11912-PC
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $4,340.00      $4,340.00
         Brent Febo                                         Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,195.00      $3,195.00
         Brian Dolan                                        Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $4,496.24      $4,496.24
         Brian G. Pazol                                     Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $2,959.60      $2,959.60
         Carolyn Gamberutti                                 Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 7
          Case 9:16-bk-11912-DS                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                      Desc
                                                         Main Document    Page 6 of 10
Debtor      Channel Technologies Group, LLC                                                          Case number (if known)   9:16-bk-11912-PC
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $2,872.64      $2,872.64
         Constance Ursch                                    Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,514.50      $3,514.50
         Damon De La Pena                                   Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,138.00      $3,138.00
         Daniel Forseth                                     Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,455.51      $3,455.51
         Ender Kuntsal                                      Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 7
          Case 9:16-bk-11912-DS                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                      Desc
                                                         Main Document    Page 7 of 10
Debtor      Channel Technologies Group, LLC                                                          Case number (if known)   9:16-bk-11912-PC
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,482.12      $3,482.12
         Eric Horning                                       Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $2,933.84      $2,933.84
         Geoffrey S. Warner                                 Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $2,875.50      $2,875.50
         Gregory Hutchison                                  Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,174.55      $3,174.55
         Jane Weiler                                        Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 7
          Case 9:16-bk-11912-DS                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                      Desc
                                                         Main Document    Page 8 of 10
Debtor      Channel Technologies Group, LLC                                                          Case number (if known)   9:16-bk-11912-PC
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,133.66      $3,133.66
         John Longyear                                      Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $3,242.41      $3,242.41
         John Mather                                        Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $4,313.09      $4,313.09
         Mark T. Shaw                                       Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)



2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $4,901.77      $4,901.77
         William Cidzik                                     Check all that apply.
         Address on File                                       Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee wages and PTO
         Last 4 digits of account number
         Specify Code subsection of PRIORITY
         unsecured claim: 11 U.S.C. § 507(a) (4)




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 7
           Case 9:16-bk-11912-DS                         Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                                   Desc
                                                          Main Document    Page 9 of 10
Debtor       Channel Technologies Group, LLC                                                           Case number (if known)         9:16-bk-11912-PC
             Name

2.23      Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                  $2,978.22       $2,978.22
          Yasuhiro Ochi                                       Check all that apply.
          Address on File                                         Contingent
                                                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Employee wages and PTO
          Last 4 digits of account number
          Specify Code subsection of PRIORITY
          unsecured claim: 11 U.S.C. § 507(a) (4)




Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
    3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
       out and attach the Additional Page of Part 2.
3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                 Contingent
                                                                                 Unliquidated
          Date or dates debt was incurred
                                                                                 Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?        No     Yes


Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                    On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                                              5a.        $                     80,171.99
5b. Total claims from Part 2                                                                              5b.   +    $                          0.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                   5c.        $                          80,171.99




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 7 of 7
         Case 9:16-bk-11912-DS                     Doc 117 Filed 11/21/16 Entered 11/21/16 17:09:49                                      Desc
                                                   Main Document     Page 10 of 10




Fill in this information to identify the case:

Debtor name         Channel Technologies Group, LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)    9:16-bk-11912-PC
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 21, 2016               X
                                                             Signature of individual signing on behalf of debtor

                                                             David Tiffany
                                                             Printed name

                                                             Chief Restructuring Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
